Case 9:18-cv-80545-DMM Document 86 Entered on FLSD Docket 03/25/2020 Page 1 of 5



                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF FLORIDA

                          CASE NO.: 9:18-cv-80545-DMM/BRANNON

  SREAM, INC., a California corporation, and
  ROOR INTERNATIONAL BV, a Foreign corporation,

                               Plaintiffs,

  v.

  THE SMOKERS EDGE, LLC d/b/a
  THE SMOKERS EDGE, a Florida corporation,

                          Defendant.
  __________________________________________

  THE SMOKERS EDGE, LLC d/b/a
  THE SMOKERS EDGE, a Florida corporation,

                               Third-Party Plaintiff,


  v.

  H&H DISTRIBUTOR INC.,

                               Third-Party Defendant.

  ______________________________________________/

                     DEFENDANT/JUDGMENT CREDITOR’S MOTION
                    FOR WRIT OF GARNISHMENT AFTER JUDGMENT

         Defendant/Judgment Creditor THE SMOKERS EDGE, LLC d/b/a THE SMOKERS

  EDGE, a Florida Corporation (“Judgment Creditor”), by its undersigned counsel, pursuant to

  Federal Rule of Civil Procedure 64 and Fla. Stat. § 77.01, et seq., files this Motion for Writ of

  Garnishment After Judgment, as to Garnishee SSS Tobacco Inc.

         1.     On February 7, 2019, the Court entered a Final Judgment [DE No. 60] in favor of

  Defendant/Judgment Creditor and against Plaintiffs/Judgment Debtors SREAM, INC., a




                                                                                        LEE & AMTZIS, P.L.
                                                                                             ATTORNEYS AT LAW
Case 9:18-cv-80545-DMM Document 86 Entered on FLSD Docket 03/25/2020 Page 2 of 5

  CASE NO.: 9:18-cv-80545-DMM/BRANNON


  California Corporation, and ROOR INTERNATIONAL BV, a Foreign Corporation (“Judgment

  Debtors”).

           2.     Thereafter, on February 4, 2020, the Court entered an Order Awarding Attorney’s

  Fees in favor of the Judgment Creditor [DE No. 77] for the total amount of $32,155.00 (the “Fee

  Order”).

           3.     The Judgment Creditor has reason to believe that SSS Tobacco Inc. owes a debt

  and/or holds funds which are owed to Judgment Debtors, which may be able to satisfy the Fee

  Order.

           4.     Pursuant to Federal Rule of Civil Procedure 64(a), “[a]t the commencement of

  and throughout an action, every remedy is available that, under the law of the state where the

  court is located, provides for seizing a person or property to secure satisfaction of the potential

  judgment.” Fed. R. Civ. P. 64(a). Federal Rule of Civil Procedure 64(b) provides that “the

  remedies available under this rule include . . . garnishment.” Fed. R. Civ. P. 64(b).

           5.     Fla. Stat. § 77.01, provides in pertinent part:

           Every person or entity who has sued to recover a debt or has recovered judgment
           in any court against any person or entity has a right to a writ of garnishment, in
           the manner hereinafter provided, to subject any debt due to defendant by a third
           person or any debt not evidenced by a negotiable instrument that will become due
           absolutely through the passage of time only to the defendant by a third person,
           and any tangible or intangible personal property of defendant in the possession or
           control of a third person.

           6.     “[I]n order to garnish funds owed by a defendant to other parties, a plaintiff must

  first procure leave of court to issue a writ of garnishment.” Alejandre v. The Republic of Cuba,

  64 F. Supp. 2d 1245, 1247 (S.D. Fla. 1999).

           7.     The court that issued the final judgment has jurisdiction to issue the writ of

  garnishment. Burshan v. National Union Fire Ins. of Pittsburgh, P.A., 805 So. 2d 835, 843 (Fla.



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                                                     2
Case 9:18-cv-80545-DMM Document 86 Entered on FLSD Docket 03/25/2020 Page 3 of 5

  CASE NO.: 9:18-cv-80545-DMM/BRANNON


  4th DCA 2001) (a post judgment garnishment proceeding under chapter 77 of the Florida

  Statutes is an “extension of the original cause of action, its purpose is to collect on a judgment in

  existence.”); Goldenkoff v. Gen. Accident Fire and Assurance Co., 116 So. 2d 780, 781 (Fla. 3d

  DCA 1960) (“proceedings in garnishment are . . . ancillary to, and in the enforcement of, the

  final judgment render in the cause where the court obtained ‘original jurisdiction’ and rendered

  judgment.”).

         8.      Accordingly, in compliance with Federal Rule of Civil Procedure 64 and Fla. Stat.

  § 77.01, et seq., the Judgment Creditor requests the issuance by the Clerk of the Writ of

  Garnishment attached as Exhibit 1 directed to Garnishee SSS Tobacco Inc.

         WHEREFORE, Defendant/Judgment Creditor THE SMOKERS EDGE, LLC d/b/a THE

  SMOKERS EDGE, respectfully requests the entry of an Order directing the Clerk to issue the

  proposed Writ of Garnishment against Garnishee SSS Tobacco Inc., together with such other

  and further relief as this Court may deem just and proper.

                                   CERTIFICATE OF SERVICE

         I hereby certify that on this date, I electronically filed the foregoing document with the

  Clerk of the Court using CM/ECF. I also certify that the foregoing document is being served this

  day on all counsel of record or pro se parties identified on the attached Service List in the manner

  specified, either via transmission of Notices of Electronic Filing generated by CM/ECF or in

  some other authorized manner for those counsel or parties who are not authorized to receive

  electronically Notices of Electronic Filing.




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                                                   3
Case 9:18-cv-80545-DMM Document 86 Entered on FLSD Docket 03/25/2020 Page 4 of 5

  CASE NO.: 9:18-cv-80545-DMM/BRANNON


  Dated: March 25, 2020                 Respectfully submitted,




                                        WAYNE H. SCHWARTZ (Bar No. 907390)
                                        schwartz@leeamlaw.com
                                        Lee & Amtzis, P.L.
                                        5550 Glades Road, Suite 401
                                        Boca Raton, FL 33431
                                        Telephone: (561) 981-9988
                                        Counsel for Defendant
                                        THE SMOKERS EDGE, LLC d/b/a
                                        THE SMOKERS EDGE




                                                                       LEE & AMTZIS, P.L.
                                                                             ATTORNEYS AT LAW

                                           4
Case 9:18-cv-80545-DMM Document 86 Entered on FLSD Docket 03/25/2020 Page 5 of 5

  CASE NO.: 9:18-cv-80545-DMM/BRANNON


                                        SERVICE LIST

  Attorneys for Plaintiffs
  SREAM, INC. and ROOR INTERNATIONAL BV

  The Ticktin Law Group, PLLC
  Jamie Sasson, Esq.
  Chezare A. Palacios, Esq.
  Kendrick Almaguer, Esq.
  serv513@legalbrains.com
  serv555@legalbrains.com
  270 S.W. Natura Avenue
  Deerfield Beach, FL 33441


  THIRD-PARTY DEFENDANT

  H&H Distributor, Inc.
  c/o Haji G. Memon
  10934 N.W. 61st Court
  Parkland, FL 33076




                                                                     LEE & AMTZIS, P.L.
                                                                         ATTORNEYS AT LAW

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